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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                       CASE NO. 21-23709-CIV-COOKE/O'SULLIVAN

  WILSON VILLA,

        Plaintiff,
  v.
  TURCIOS GROUP CORP and
  HENRY TURCIOS,

        Defendants.
                                     /

                     ORDER SCHEDULING SETTLEMENT CONFERENCE

        THIS MATTER is before the Court pursuant to an order of reference entered by

  the Honorable Marcia G. Cooke, United States District Judge, for a settlement

  conference to be conducted by the Court. As a result of the District Judge’s Order of

  Referral, it is hereby ORDERED AND ADJUDGED as follows:


        1.      A settlement conference in this matter is scheduled before the Court for
                10:00 A.M., Thursday, January 13, 2022, IN PERSON, at the C. Clyde
                Atkins United States Courthouse, 301 N. Miami Avenue, 9th Floor, Miami,
                Florida, 33128. ANY PARTY WHO DOES NOT SPEAK ENGLISH MUST
                BRING A PROFESSIONAL INTERPRETER TO THE SETTLEMENT
                CONFERENCE. The plaintiff(s) and the defendant(s) may not share an
                interpreter. Prior to arrival at the Courthouse, please visit:
                https://www.flsd.uscourts.gov/sites/flsd/files/CourtroomProceduresDuetoC
                OVID-19.pdf to view the Court’s COVID-19 Rules and Procedures.

        2.      The settlement conference shall be attended by all parties, corporate
                representatives, and their counsel of record. All persons named as
                individual parties shall be present and each entity shall have a party
                representative(s) present with full authority to bind the party up to
                and including the full amount claimed as damages plus any
                applicable attorney’s fees and costs.

        3.      In the event that a monetary settlement would be payable from
                proceeds of an insurance policy, a claims professional/
                representative(s) from the party’s insurer with full and final authority
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              to authorize payment to settle the matter up to the full limits of the
              party’s policy(s), shall be present. Failure of a party representative
              with full and final authority to make and accept offers of settlement
              to attend this conference may result in the Court’s sua sponte
              recommendation to the District Judge that sanctions be entered
              against the offending party.

        4.    Telephonic attendance will not be considered without the Court’s prior
              permission, and unless extraordinary circumstances exist.

        5.    The conference will not be continued absent extremely compelling
              circumstances. Any motion for continuance shall provide dates and
              times that are available for all parties.

        6.    The parties shall take note that in civil actions the Court does not provide
              an interpreter for parties who do not speak English. In the event that a
              party requires an interpreter, it shall be that party’s burden to provide one.
              The parties are further advised that laptop computers are not permitted in
              the Federal Courthouse absent permission from the Office of the U.S.
              Marshal.

        7.    The conference shall be conducted without a court reporter and will not be
              tape recorded. All representations and statements made at the
              conference shall remain confidential.

        8.    The parties are not required to submit any statements/documentation in
              preparation for the conference.

        9.    Counsel shall remind their clients that they must bring proper
              identification (ex. driver’s license) and that mobile phones are not
              permitted inside the Courthouse.

        10.   In the event this matter settles prior to the conference, the parties shall
              immediately advise the Court’s chambers.

        DONE AND ORDERED in Chambers at Miami, Florida this 13th day of

  December, 2021.

                                          ________________________________
                                          JOHN J. O’SULLIVAN
                                          CHIEF UNITED STATES MAGISTRATE
                                          JUDGE




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